Case léFMIEYRSJMTW/YNWQ€B@YQYQUHHQ€ 1 of 3

()UTHERN DISTRICT OF FLORIDA

In R,e: Cesar A Sayoc Case No.:

Debtor

Chapter: 7

 

DECLARATION REGARDING PAYl\/EENT AD`VICES

Debtor:

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and all received and provide explanation that you didn t Woik the full vapng :?ys
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Copies of all payment advices pay stubs or other evidence of payment received by the
debtor from any employer Within 60 days prior to the nlin<r of the bankruptcy petition are
attached (Note lf you vvorked some but not all of the 60 days prior attach copies of any

)

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Copies of all payment advices are not attached because the debtor had no income from
any employer during the 6() days prior to filing the bankiuptcy petition.

Copies of all payment advices are not attached because the debtor:
_receives disability payments

___1s unemployed and does not receive unemployment compensation
__receives Social Security payments

w_receives a pension

__does not Work outside the home

____is self employed and does not receive payment advices

None of the statements above appiy, however, the debtor is unable to timely provide
some or all copies of payment advices or other evidence of payment received
Explain:

 

50th Debtor (if applicabie):

Copies of payment advices, pay stubs or other evidence of payment received by the joint

debtor from any employer Within 60 days prior to the filing oi` the bankruptcy petition are
attached (Note: lf you Worked some, but not all of the 60 days prior1 attach copies of any
and all received and provide explanation that you didn’t vvork the full 60 days.

)

Copies of payment advices are not attached because the joint debtor had no income from
any employer during the 60 days prior to filing the bankruptcy petition

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_______ Copies of payment advices are not attached because the joint debtor:
_____mreceives disability payments
__is unemployed and does not receive unemployment compensation
__receives Social Security payments
___receives a pension
____does not Work outside the home
__is self employed and does not receive payment advices

None of the statements above apply, however, the joint debtor is unable to timely

provide some or all copies of payinth advices or other evidence of payment received
Explain:

 

NOTE: When submitting copies ofevidence of payment such as pay stubs or payment adviccs,
it is your rcs])onsibili@ to redact (blackoat) any social security numbers, names ofminor
children, da§a.§?of birth orfinancial account numbers before attachingforfiling wine the

 

 

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Signature of Attorney or Joint Debtor g

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